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 5 Attorney for Defendant
   AMY ARATA
 6
 7
                                        UNITED STATES DISTRICT COURT
 8
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA, )                   No. CR-06-00217-DLJ
                                         )
11                 Plaintiff,            )
                                         )       STIPULATION TO CONTINUE DATE
12                         vs.           )       FOR POSTING PROPERTY BOND;
                                         )       ORDER
13 AMY ARATA, et al.,                    )
                                         )
14                 Defendants.           )
   ______________________________)
15
           IT IS HEREBY AGREED BY THE PARTIES, through the undersigned attorneys, that
16
   the date for posting the pledged property as security for defendant Arata’s release shall be
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   continued to April 21, 2006, at 10 a.m. due to the delay resulting from the property’s location in
18
   New Mexico.
19
           IT IS SO STIPULATED.
20
21
22 Dated: April 7, 2006                            _______/s/___________________________
                                                   DANA WAGNER
23                                                 Assistant United States Attorney
24
25 Dated: April 6, 2006                                       /s/
                                                   NINA WILDER
26                                                 Attorney for Defendant
                                                   AMY ARATA
27
28
     STIPULATION TO CONTINUE DATE FOR
     POSTING PROPERTY BOND; ORDER;
     (NO. CR-06-0217 DLJ)
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     Case 4:06-cr-00217-DLJ             Document 67        Filed 04/07/06                   Page 2 of 2



 1
                                                  ORDER
 2
 3           Pursuant to the Stipulation of the parties, and good cause appearing therefor,
 4           IT IS HEREBY ORDERED that the date for posting the pledged property as security
 5 for defendant Arata’s release shall be continued to April 21, 2006.
                                                                   S DISTRICT
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     DATED: April 7, 2006                                    IT IS S
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                                                                         ayne D.




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 9                                                                Judge W




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11                                                               R
                                                   ___________________________________
                                                   HONORABLE WAYNE D. BRAZIL
12                                                 United States Magistrate Judge
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     STIPULATION TO CONTINUE DATE FOR
     POSTING PROPERTY BOND; ORDER;
     (NO. CR-06-0217 DLJ)
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